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                                                                                2019 Jan-03 AM 10:18
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISON

JEREMY R. TOUMEY,                     *
                                      *
      Plaintiff,                      *
                                      *
v.                                    *       CIVIL ACTION NO. ___________
                                      *
BIRMINGHAM URBAN AIR,                 *
LLC, et al.                           *
                                      *
      Defendants.                     *

                            NOTICE OF REMOVAL
      Defendant Birmingham Urban Air, LLC (“Defendant”) hereby removes,

pursuant to 28 U.S.C. §1441, et seq., civil action captioned Jeremy R. Toumey v.

Birmingham Urban Air, LLC, et al, Docket Number CV-2018-904751 pending in

the Circuit Court of Jefferson County, Alabama (the “State Court Action”), to the

United States District Court for the Northern District of Alabama, Southern

Division, on the grounds of diversity of citizenship, 28 U.S.C. §1332, for the

following reasons:

      1.      On November 27, 2018, Plaintiff Jeremy R. Toumey (“Plaintiff”) filed

a Complaint in the State Court Action. A copy of the Complaint and all other

documents filed in the State Court Action as of the time of this filing are attached

as Exhibit “A”.



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      2.      Defendant was served on December 4, 2018. See Exhibit “B”. Thus,

notice of removal is timely filed in compliance with 28 U.S.C. §1446(b).

      3.      In this personal injury action, Plaintiff alleges he was injured as a

result of an accident that occurred in Homewood, Alabama, and Plaintiff asserts

claims against Defendants of negligence, wantonness, premises liability, negligent,

reckless, and wanton supervision and training. See Complaint.

      4.      The Circuit Court for Jefferson County, Alabama, is located within

the jurisdiction of the United State District Court for the Northern District of

Alabama, Southern Division.

      5.      This action is removable because there is complete diversity of

citizenship between Plaintiff and Defendant, and because the damages alleged are

in excess of $75,000.00, based on Plaintiff’s claims for general and special

compensatory damages, for past and future medical expenses, mental anguish, pain

and suffering, permanent injury and disfigurement, and lost earning capacity, as

well as punitive damages. Accordingly, this matter is within the original

jurisdiction conferred on this Court pursuant to 28 U.S.C. § 1332.

      6.      Plaintiff is a resident of Alabama. See Complaint ¶ 1. For diversity

purposes, he is a citizen of Alabama.

      7.      Defendant is a foreign limited liability corporation whose sole

members are Tom Andrew Duncan and Terri Little. See Affidavits of Tom Andrew


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Duncan and Terri Little, attached hereto as Exhibits “C” and “D”, respectively.

Tom Andrew Duncan is a resident of and is domiciled in Miller County, Arkansas.

See Affidavit of Tom Andrew Duncan, Exhibit “C”. Terri Little is a resident of and

is domiciled in Caddo Parish, Louisiana. See Affidavit of Terri Little, Exhibit “D”.

Accordingly, for diversity purposes, Defendant is a citizen of Arkansas and

Louisiana. See Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374

F.3d 1020, 1022 (11th Cir. 2004) (“a limited liability company is a citizen of any

state of which a member of the company is a citizen”).

      8.      Based on the allegations in the Complaint, the requisite amount in

controversy is satisfied, as Plaintiff seeks general and special compensatory

damages, for past and future medical expenses, mental anguish, pain and suffering,

permanent injury and disfigurement, and lost earning capacity, as well as punitive

damages for the following:

    “He suffered injuries to various portions of his body, including but not
     limited to: his knee;”
    “He has experienced and continues to experience pain and suffering and is
     reasonably certain to experience pain and suffering in the future;”
    “He has experienced and continues to experience mental anguish and is
     reasonably certain to experience mental anguish in the future;”
    “He was permanently injured, disfigured and damaged;”
    “He was caused to incur personal injury medical expenses for treatment
     from various doctors, physicians, and hospitals;”
    “He was caused to incur out-of-pocket medical expenses;”
    “He has lost wages and earning capacity;”
    He is reasonably certain to incur personal injury medical expenses in the
     future.”

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See Complaint ¶ 7. To the extent Plaintiff is successful in seeking punitive

damages, for which Plaintiff alleges Defendants are liable, under BMW of N. Am.

v. Gore, then it is reasonable to assume a standard three times multiplier of

compensatory damages may be used to determine a punitive damages award. BMW

of N. Am. v. Gore, 517 U.S. 559 (1996). When combining the allegedly significant

compensatory damages with the possible punitive damages, the amount in

controversy clearly exceeds $75,000.00. Plaintiff has not entered any stipulation

limiting any award which may be made, nor has Plaintiff provided any affidavit

waiving any recovery above $75,000.00.

      9.      This action should be removed to this Court pursuant to 28 U.S.C. §

1441 because there is complete diversity of citizenship between the parties, and the

judgment value of damages sought by Plaintiff exceeds the jurisdictional threshold.

      10.     Attached as exhibits to this Notice of Removal are the following:

              (a)   Copies of all pleadings, including answers, filed in state court

      (Exhibit “A”);

              (b)   Copies of return of service on Defendant (Exhibit “B”);

              (c)   Affidavit of Tom Andrew Duncan (Exhibit “C”); and

              (d)   Affidavit of Terri Little (Exhibit “D”).




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      11.    Pursuant to 28 U.S.C. 1446(d), and contemporaneously with the filing

hereof, undersigned counsel for Defendant has given notice of the filing of this

Notice of Removal to Plaintiff.

      12.    A copy of this Notice of Removal is being promptly filed with the

Circuit Court of Jefferson County, Alabama, as required by 28 U.S.C. 1446(d).

      13.    Defendant Birmingham Urban Air, LLC respectfully requests that this

Court take jurisdiction in this civil action to its conclusion, to the exclusion of any

further proceedings in the State Court, in accordance with federal law.

      WHEREFORE, Defendant Birmingham Urban Air, LLC respectfully

requests that this Court remove this action from the Circuit Court for Jefferson

County, Alabama to the United States District Court for the Northern District of

Alabama, Southern Division.


                                         /s/ Jonathan B. Minchin
                                        Jonathan B. Minchin (ASB-0281-A58M)
                                        George C. Gaston (ASB-8841-O60G)
                                        Galloway, Johnson, Tompkins, Burr &
                                        Smith, PLC
                                        63 S. Royal Street, Suite 302
                                        Mobile, Alabama 36602
                                        Telephone: (251) 438-7850
                                        Facsimile: (251) 438-7875
                                        jminchin@gallowaylawfirm.com
                                        ggaston@gallowaylawfirm.com
                                        Attorneys for Defendant Birmingham Urban
                                        Air, LLC



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                         CERTIFICATE OF SERVICE

       I hereby certify that I have on this 3rd day of January, 2019, caused a copy
of the foregoing to be uploaded via the ECF court filing system and served
electronically on counsel for all parties of record who are registered participants by
the electronic notification given by ECF at the time of filing on this day. I also
sent a copy of the foregoing via electronic mail to:

Garrett Dennis
Shunnarah Personal Injury Lawyers, P.C.
221 Longwood Dr. SW
Huntsville, Alabama 35801
Telephone: (205) 983-8144
Facsimile: (205) 983-8444
gdennis@asilpc.com
Attorney for Plaintiff


                                       /s/ Jonathan B. Minchin
                                       OF COUNSEL




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